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 1    Robert F. Brennan, Esq. [S.B. #132449]
      LAW OFFICES OF ROBERT F. BRENNAN, APC
 2    3150 Montrose Ave.
      La Crescenta, Ca. 91214
 3    [818] 249-5291
      FAX [818] 249-4329
 4    Email: rbrennan@brennanlaw.com
 5    Attorney for: Plaintiff Porshia Jones
 6
 7                         UNITED STATES DISTRICT COURT
 8                       CENTRAL DISTRICT OF CALIFORNIA
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                                           )
10    PORSHIA JONES, an Individual;        ) Case No.: CV 13-05525-MWF (CWx)
                                           )
11                                         )
             Plaintiff,                    ) ORDER OF DIMISSAL WITH
12                                         ) PREJUDICE OF DEFENDANT
             vs.                           ) TRAN UNION LLC, ONLY
13                                         )
      TRANSUNION LLC, is a Corporation; )
14    EXPERIAN INFORMATION                 )
      SOLUTIONS INC, is a Corporation;     )
15    GLOBAL MOTORCARS OF                  )
      HOUSTON, an unknown business         )
16    entity; SKY RECOVERY SERVICES, )
      is a business entity form unknown;   )
17    CORELOGIC CREDCO LLC, a              )
      business entity, form unknown, and   )
18    DOES 2-10, Inclusive,                )
                                           )
19           Defendants.                   )
                                           )
20                                         )
                                           )
21                                         )
22           Plaintiff PORSHIA JONES has announced to the Court that all matters in
23    controversy against Defendant TRAN UNION LLC, Only, have been resolved. A
24    Stipulation of Dismissal with Prejudice has been signed and filed with the Court.
25    Having considered the Stipulation of Dismissal with Prejudice, the Court makes
26    and delivers the following ruling:
27    ///
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                                          1
               ORDER RE: DISMISSAL OF DEFENDANT TRANS UNION LLC, ONLY
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 1          IT IS ORDERED that the claims and causes of action asserted herein by

 2    Plaintiff PORSHIA JONES against Defendant TRAN UNION LLC, Only, are in
 3    all respect dismissed with prejudice to the refilling of same, with Court costs to be
 4    paid by the party incurring same.
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 6    DATED this 3rd day of February 2014.
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 9                                           __________________________
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                                             MICHAEL W. FITZGERALD
11                                           UNITED STATES DISTRICT JUDGE
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               ORDER RE: DISMISSAL OF DEFENDANT TRANS UNION LLC, ONLY
